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                                        #:3260


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11                          UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13                                    WESTERN DIVISION
14
     ALEJANDRO RODRIGUEZ, et al.,              ) Case No. CV 07-3239-TJH (RNBx)
15                                             )
                  Petitioners,                 ) JOINT STIPULATION FOR
16                                             )
           vs.                                 ) ENLARGEMENT OF PAGES FOR
17                                             ) BRIEFING THE MOTION FOR A
     TIMOTHY S. ROBBINS, in his                ) PRELIMINARY INJUNCTION AND
18   capacity as U.S. Immigration and          )
     Customs Enforcement, Los Angeles          ) FOR EXTENSION OF THE HEARING
19   District Field Office Director, et al.,   ) DATE ON PETITIONERS’ MOTION
                                               )
20                                             )
                  Respondents.                 )
21                                             )
22
           Respondents and Petitioners jointly stipulate and request that this Court enter
23
     the accompanying proposed order that (1) enlarges the page limitations on
24
     Respondents’ memorandum in opposition to Petitioners’ motion for a preliminary
25
     injunction (ECF # 232), previously filed on June 25, 2012, from 25 to 35 pages; (2)
26
     correspondingly enlarges the page limitation for Petitioners’ reply brief from 25 to 35
27
     pages; and (3) amends the briefing schedule to permit Petitioners to reply on August
28
     3, 2012; and (4) moves the hearing date from August 13 to August 20.
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 1         There is good cause for the Court to enter the accompanying proposed order.
 2   The parties communicated about this stipulation on July 18, 2012. Respondents
 3   contacted Petitioners to determine if Petitioners would consent or not oppose
 4   Respondents’ request for an enlargement of pages to oppose Petitioners’ preliminary
 5   injunction motion. Respondents explained that the complexity of the issues involved
 6   made it difficult for Respondents to meaningfully respond within 25 pages.
 7         Petitioners agreed to the request if Respondents would agree to a corresponding
 8   enlargement of the page limitations by 10 pages for Petitioners’ reply brief in support
 9   of their motion, to provide Petitioners with a fair opportunity to address arguments
10   made in Respondents’ enlarged brief. Petitioners also asked if Respondents would
11   agree to an extension of the briefing schedule to give Petitioners an additional four
12   days to prepare a reply, in anticipation that Respondents’ enlarged brief would raise
13   new arguments Petitioners have not anticipated. Respondents agreed to extend those
14   courtesies to Petitioners.
15         Accordingly, the parties stipulate to the enlargement of the page limitations by
16   ten pages each, and to modify the time for Petitioners to reply. Although the parties
17   understand that this matter has been requested for consideration by the Court on
18   submission, in keeping with this Court’s rules, the parties also agree that the Court
19   should re-calendar the hearing date from August 13, 2012, to provide the Court time
20   to consider Petitioners’ reply.
21         For these reasons the parties jointly request that the Court enter the
22   accompanying proposed order.
23   //
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25   //
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27    //
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 1   Dated: July 18, 2012
 2   By: /s/ Michael Kaufman                    STUART F. DELERY
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                                       #:3263


 1                              CERTIFICATE OF SERVICE
 2
           I certify that on July 18, 2012, I served a copy of the foregoing through the
 3   Court’s CM/ECF system on the following counsel of record:
 4
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20                                              /s/ Theodore W. Atkinson
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